IN THE UNITEI) S'I`ATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE

 

NASHV|LLE DIVISION
YOLANI)A SALES, )
)
Plaintiff, )
)
vs. ) No.
) JURY DEMAND
INVENTIV HEALTH, INC. )
) Judge
) Magistrate .ludge
)
Defendant. )
COMPLAINT

Comcs now Plaintif`l`, by and through counsel, and alleges the following in her cause ol`
action against Defendant: Count One - Violations of the Civi| Rights Act of 1991, 42 U.S.C. 1981:
Count Two - Violations of` Title Vll ofthe Civil Righls Act of` 1964, 42 U.S.C. § 2000e; QQu_nt
m- Amcricans with Disability Act:_ Counl Four - Violalions of`the Equal Pay Act; Q)_gt_t
w - Violations ofthc Tennessee Human Rights Act. 'l`.C.A. §§ 4-2|-101 et seq..' and, Count Six
-Violations ofthe Tcnnessee I)is:~.\bilit_\,r Act.

l. Plaintiff, Yo|anda Sales, resides in Huntsville._ Alabama.

2. Det`endant, inventive l'lcalth, lnc. is a Delaware corporation licensed to do business
and doing business in Davidson County, 'I`cnncssee with its principal place of business located l
Van de Graal`l`Drive, Burlington_. Massachusetts 01803. Dct`cndant can be served through its
registered agent at Corporation Service Company_. 271 Centervi|le Road, Suitc 400, Wilmington,

Delaware 19808.

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JURISDICTION ANI) VENUE

3. This action is brought under the Civil Rights Act of 1991, 42 U.S.C. 1981, Title VII
ofthe Civi| Rights Act of 1964. 42 U.S.C. 2000e; the Americans with Disability Act; the Equal
Pay Act; and, the Tennessee Human Rights Act, T.C.A. §4-21*101 et seq and the common law of
the State of Tennessee.

4. This Court has jurisdiction under 28 U.S,C. 1331 to hear Plaintiff’s claims arising
under the Constitutiort and laws of the United States.

5. This Court hasjurisdiction under 28 U.S.C. 1343(4) to hear P|aintif`f’s claims to
recover damages and to secure equitable relief under any Act of Congress providing for the
protection of civil rights.

6. This Court has supplemental jurisdiction over all state law claims alleged in this
complaint under 28 U.S.C. 1367 as there is a common nucleus ofoperative facts between state and
federal law claims.

'?. Venue is appropriate in the Middle District of 'fennessee under 28 U.S.C.

1391 (b)(2) as this is the judicial district in which a substantial part of the events or omissions
giving rise to this claim occurred.
GENERAL FACTUAL ALLEGATION

8. Plajntiff is an African Ameriean female hired by Defendant in or about June 2006,
as a specialty sales representative

9. Det`endant employs more than 500 employees in each of twenty 120) or more
calendar weeks in the current or proceeding calendar year.

10. Plaintil`f"s job duties and responsibilities included administrative duties, territory

management covering middle and eastern 'l`ennessee to promote and sell medications offered by

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Defendant.

1 l. Approximately six months into her employment, PIaintif f informed Defendant of
her disability and the potential need for accommodations Plaintiff informed her direct manager,
Amy llyde, and Mike Shafranski of her ADHD. Plaintiff has been diagnosed with ADl-ID. This
condition inflicts upon PIaintil`f` the inability to focus, read, concentrating or otherwise engaging in
conversations with physicians in order to perform herjob functions. ln addition, Plaintiffinformed
her manager and co-worltcrs of her dyslexia.

12. Plairitifl` described how the condition affected her to Ms. Hyde. As a result, Ms.
Hyde would edit her emails, give her extra time to prepare for calls and allow Plaintiff to keep
verbal post- and pre-call notes Pre- and post-call notes were done by employees such as Plaintiff
to document their meetings with physicians

12. Notwithstanding the same, Plaintiff was able to receive a promotion, annual raises
and several bonuses. Plaintiff`s promotion was to the position of Scnior Sales Representative.
Plaintiff performed herjob duties to the expectations of Defendant. ln fact, Plaintiff received four
bonuses every year based on sales performance

13. ln or about 2009 the positions of Scnior Specialty Salcs Representative.

Founders Club, Recruiting and Sales Trainer became available Plaintiff informed Defendant that
she would be interested in the position and applied for the same. However, Plaintiff was passed
over for a Caucasian female employee whom Plaintiff wasjust as qualified Plaintiffwas also
denied the ability to participate in Founders Club and Recruiting and 'l`raining positions that were
afforded Caucasian employees Plaintiff complained to Ms. Hyde about her non-selection. In
addition, Plaintiff complained to Amy Hyde and Mike Shal`ranski about her non-selection.
Plaintiff informed both of these individuals that she felt her ADHD and dyslexia were the reason

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she did not receive the promotion. Ms. Hyde informed Plaintifi` that Shawn Fatolhie, the
contractor, stated to her that he "'didn’t want somebody like her [Plaintifl]” representing the
company.

14. Subsequent to this, Plaintiff began receiving bad evaluations from Ms. Hyde and
Sharon O`Sullivan, her direct managers Her managers began grading her low in areas directly
affected by her ADl-ID and dyslexia such as organization, pre-call planning, territory management_.
post call analysis and communication with physicians. Plaintiff had always received good scores
in the past in these areas.

15. Plaintiff, during this time, also endured unnecessary pressure in the performance
of her duties that other non-disabled Caucasian male sales representatives did not. Plaintiff was
forced to participate in exercises that her dyslexia prevented her from succeeding in, they would
arbitrarily search her bags while at work, her managers would speak negatively about Plaintiff to
her co-workcrs causing depression, anxiety and hostility in the workplace.

16. Plaintiff again complained to her managers, Hyde and ()’Sullivan, about these
hostilities since her complaint about founders club, equal pay and the promotion process. During
this same time period, Plaintiff was being informed by co-workers that her manager, O’Sullivan,
was “Iooking for a reason to fire" her while at the same time changing certain work procedures

1?. ln or about 2010, Plaintiff was diagnosed with depression Plaintifi` told
Ms. Hyde about her depression Ms. Hyde mentioned to Plaintiff that she should take long term
disability leave. Plaintift` declined the leavc. This depression prohibited Plaintiff' from caring for
herself and her child. [n addition1 the depression prevented Plaintiff from working and she began
using sick days.

18. Plaintiff had always made known her desires to move up in the company. Aiter

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her reporting of depression, however, Ms. llydc reiterated Mr. Fitolli’s statement that he didn’t
want somebody like Plajritiff representing the company at higher levels.

19. Additionally, in 2010, Plaintiff began being micro-managed by Ms. Hyde and Ms.
O’Sullivan. Thesc managers would change her prepared presentations to physicians at the last
minute. Plaintiff would spend significant time preparing presentations for the physicians she
would call upon. When Plaintii`f would arrive at the physicians’ office with her manager, each
manager would give her a new presentation to make at the last minute. This happened
continuously throughout the year. This would cause a negative reflection on her performance
evaluationsl

20. In or about January of 201 1, Plaintiff was diagnosed with anxiety. Her treating
physician diagnosed her anxiety as a result of the hostile work environment she was in.

21. On or about Fcbruary 9, 2011, Plaintit`f was placed on a conference call with
Human Resources, O`Sullivan, Shafranski, and Miller and accused ofleaving BRC cards behind
at physicians’ offices and promoting her real estate business while in physicians’ ofliccs.

22. Plaintiff was asked by Mike Shafranski, National Director of Sales, why she
believed she was being treated this way. Plaintiff informed him that she thought it was because of
her race and/'or disability

23. Plaintiff was terminated even though she had not been put on coaching plans
as caucasian non-disabled employees had been in the past. Coaching plans were implement
with employees who appeared to have performance deficiencies in the execution of their job
responsibilities Furthermore, Defendant did so without a complete investigation

24. Plaintil`f was not afforded these coaching opportunities after her complaint of the

Founders Club, equal pay, and recruiting and training.

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25. ln addition. throughout her employment, Plaintiff was paid less than her male
counterpart for performing the same quality and quantity of work. The disparity in compensation

was due to Plaintiff’ s gender. ln fact Defendant had taken the position that Plaintiff was one of its

“"top perfonners.”
COUNT ONE
Violations of the Civil Rights Aet of 1991, 42 U.S.C. 1981
Against Defendants
26. Defendant’s conduct described herein and failure to promote and terminate

Plaintiff violated the Civi| Rights Act of 1991, 42 U.S.C. 1981.

2?. Defendant acted intentionally, recklessly, or maliciously when they investigated_.
disciplined, failed to promote, and discharged Plaintil`fin violation ofthe Civil Rights Act ol` 1991 .

28. Defendant’s discipline, non-selection and constructive discharge of Plaintiff was a
part ofa knowing and intentional pattern of discrimination in violation of the Civi| Rights Act of
1991.

29. As a direct and proximate result of Defendant`s violation of the Civil Rights of
1991 _. Plaintiff has suffered and continues to suffer loss of income and other employment benefits
and suffered and continues to suffer distress, humiliation, embarrassment, and emotional pain
along with other damages.

COUNT TWO
Violation of Title Vll of the Civil Rights Aet of 1964, 42 U.S.C. 2000e

30. Plaintift`liled her charge with the EEOC and demanded his Right to Sue l.etter.

31 . Defendant has more than 500 employees

32. During all times complained herein, Defendant was an employer under the terms
of 'fitle VII ofthe Civil Rights Act, 42 U.S.C. 2000e (b) and (l`), and as such, they are subject to the

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rule, regulations and penalties of this law.

33. Defendant denied Plaintifl` the opportunity to be employed under standards which
were afforded other employees

34. Defendant engaged in, condoned, and ratified harassing and discriminatory
conduct of its employees which resulted in racially hostile work environment.

35. Defendant is directly or vicariously liable for retaliation under Title VII
which results from the discriminatory practices and policies of its employees

36. This discrimination on the part of Defendant constitutes a violation of the
P|aintiff's rights under Title Vll.

37. The discriminatory employment practices described herein, have caused Plaintif’f
to experience harm, including loss of compensation, wages back and front pay, and other
employment benefits Plaintiti` has further suffered emotional distress humiliation, indignity and
resulting injury and loss along with other damages

COUNT THREE
Violations of the Americans with Disability Act and the Tennessee
Handicap Act

38. The conduct described herein constitutes unlawful discriminatory practices on the
part of Defendant in violation of the Americans with Disability Act and Tennessee Handicap Act.

39. Defendant is a "person” as defined by the Americans with Disability Act and
the Tennessee Handicap Act.

40. Defendant did segregate or classify Plaintiff based upon her disability in a way
that would tend to deprive her of employment opportunities or otherwise adversely affect her

status as an employee

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41. Defendant’s decision to terminate Plaintiffand treat her less favorably than her
non-disabled counterparts resulted from a knowing and intentional pattern of discrimination in
violation of the Americans with Disability Act and the Tennessee Handicap Aet.

42. As a direct and proximate result of Defendant’s violation of the Americans with
Disability Act and the Tennessee Handicap Act, Plaintii`l` has suffered and continues to suffer
distress, humiliation, embarrassment, emotional pain and other damages

COUNT FOUR
Violations of the Equal Pay Act

43. The conduct described herein constitutes unlawful discriminatory practices on the
part of the Defendant in violation of the Equa| Pay Actt 29 U.S.C. 206(d).

44. The Defendant is a covered employer as defined in 29 U.S.C. 206(d)(1) and
29 U.S.C. 203(d).

45. Plaintiffis an employee as defined in 29 U.S.C. 203(e).

46. During her employment, Plaintif`f had engaged in equal work to her male counter
parts This equal work included equal skill, equal effort1 and equal responsibility under similar
working conditions

COUNT FIVE
Violations of the Tennessee Human Rights Act Against Defendants

4?. 'l`he conduct described herein constitutes unlawful retaliatory practices on the
part of Defendant in violation of the Tennessee lluman Rights Act, T.C.A. §4-21-101 er seq.
48. Defendant is a "person" as defined by the Tennessee Human Rights Act.
49. Defendant did segregate or classify Plaintiff based upon her reporting in a way that

would tend to deprive her of employment opportunities or otherwise adversely affect her status as

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an employee in violation of T.C.A. §4-21-401.

50. Defendant’s discipline, non-selection and termination of Plaintiff resulted from a
knowing and intentional pattern of retaliation in violation of the Tennessee Human Rights Act.

51. As a direct and proximate result of Defendant`s violation of the Tennessee l-luman
Rights Act, Plaintiff has suffered and continues to suffer distress humiliation, embarrassment,
emotional pain and other damages

WHEREFORE, Plaintiff prays:

1. I~` or a jury to be empaneled and a judgment of compensatory damages to include
Front pay, back pay and emotional suffering as well as correcting her personnel file to remove her

status as terminated;

2. Punitive damages;

3. Attorney’s fees and the cost of litigation to include expert fees;

4. Darnages for humiliation and embarrassment;

5. Al| other remedies and injunctions as are necessary and proper to eliminate the

discriminatory practices of Defendants;
6. A judgment against Defendants for prejudgment interest; and

7. Such other relief as this Court deems proper.

Respectfully submitted

ALLMK & As::A-L-Es

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